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1                  IN THE UNITED STATES DISTRICT COURT

2                   FOR THE SOUTHERN DISTRICT OF TEXAS

3                             HOUSTON DIVISION

4    THE UNIVERSITY OF TEXAS           §     CASE NO. 4:18-MC-02271
     SYSTEM, ET AL                     §     HOUSTON, TEXAS
5                                      §
     VERSUS                            §     TUESDAY,
6                                      §     OCTOBER 2, 2018
     ALLIANTGROUP, LP, ET AL           §     2:01 P.M. TO 2:30 P.M.
7

8                             STATUS CONFERENCE

9                    BEFORE THE HONORABLE PETER BRAY
                     UNITED STATES MAGISTRATE JUDGE
10

11

12
          APPEARANCES:                       SEE NEXT PAGE
13
          COURT RECORDER:                    JENNIFER OLSON
14
          COURT CLERK:                       JASON MARCHAND
15

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1         HOUSTON, TEXAS; TUESDAY, OCTOBER 2, 2018; 2:01 P.M.

2               COURT CLERK:     All rise.

3               THE COURT:     Hello, be seated.

4               There's just one of you here in the courtroom.           So

5    let's see, for UTU of H we have Michael McCue on the phone,

6    right?

7               MR. MCCUE:     That's correct.

8               THE COURT:     All right, I can hear you, great.

9               Then we have Mr. Taylor here for AlliantGroup and

10   Ms. Keneally -- am I saying that name right?

11              MS. KENEALLY:     Yes, Your Honor.

12              THE COURT:     And both of you are for AlliantGroup.

13              And then Katelin Cox for WHR, correct?

14              MS. COX:     Yes, Your Honor.

15              THE COURT:     Is that everybody?

16              MR. TAYLOR:     Your Honor, John Simpson with

17   AlliantGroup is also here.

18              THE COURT:     Greetings.

19              MR. SCARDUZIO:     And Michael Scarduzio for

20   AlliantGroup, also.

21              THE COURT:     Oh, I'm sorry, who?

22              MR. SCARDUZIO:     Michael Scarduzio.

23              THE COURT:     All right.    So, I kind of thought we'd

24   be able to work this out last time based on some of the

25   foreshadowing that I gave you.      But bottom line -- let's




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1    just go through these.      All we're talking about now are

2    document request number 16, 17, and 18, correct?

3               MR. MCCUE:     Correct, Your Honor.

4               THE COURT:     All right, just make sure you identify

5    yourself whoever is speaking.

6               MR. MCCUE:     I'm sorry, that was Mike McCue.

7               THE COURT:     All right.    So.

8               MS. KENEALLY:     Kathy Keneally.      I agree that we're

9    down to 16, 17 and 18, although we do have a request that we

10   get the documents promptly.       We haven't seen them yet.

11              THE COURT:     All right, let's deal with the 16, 17,

12   and 18 first, okay.

13              Document Request Number 16 seeks -- where is it

14   here? -- copies of all requests made by Efficiency, right,

15   is the -- is that what we're referring to that party as,

16   Efficiency Energy?      Is that what it is?      Somebody help me.

17              Fine.    Made by you to state or local or state or

18   federal agencies officials, institutions, or governments or

19   employees thereof under the FOIA.

20              Does anybody not agree with me that that's pretty

21   broad?

22              MR. MCCUE:     This is Mike McCue.      Obviously we

23   agree, Your Honor.     There's no specific federal agency

24   through states or state agency identified.          There's no

25   specific document.     There's no time frame.       Efficiency




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1    Energy has been in business for over a decade.

2               THE COURT:    All right, so I got it.       I'm on your

3    side and I'm not trying to cut you off.        But is it not also

4    the case that we could -- that there is a subset of those

5    documents that are relevant?

6         (No audible response.)

7               THE COURT:    Anybody?

8               MS. KENEALLY:    That would be our position, Your

9    Honor.   And Plaintiff's counsel -- this is Kathy Keneally

10   for AlliantGroup.    Plaintiff's counsel had not suggested

11   ways to narrow this.

12              I'm very much open to narrowing it to subject

13   matter and dates.

14              THE COURT:    Okay, so I -- and by the way, 16 and

15   17 are really pretty darn close to being the same thing,

16   right?

17              MS. KENEALLY:    Yes, Your Honor.     One is Federal,

18   one is State.   This is Kathy Keneally.

19              THE COURT:    Well, they both say State and Federal.

20              MS. KENEALLY:    Oh, I'm sorry.

21              MR. MCCUE:    Your Honor, this is Mike McCue.

22   Sixteen asks for the requests in sales and 17 asks for all

23   the documents that he has gotten over the last decade.

24              THE COURT:    All right, so I am not -- I'm going

25   to -- this -- here's where I'm at and somebody tell me if




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1    I'm missing something.     I think that the requests

2    themselves, that should not be burdensome at all to the

3    extent that we narrow it.      And then somebody needs to tell

4    me a little bit about what documents were ever received.

5               Why can we not narrow this to FOIA requests and

6    documents received pertaining to this case?         In other words,

7    I don't see why we need to get into every FOIA request that

8    Efficiency Energy ever made ever to every state and local or

9    federal agency.

10              But at the same time, it seems to me that there's

11   some relevant documents in there, right?

12              MS. KENEALLY:    Your Honor, this is Kathy Keneally.

13   I think rather than get into a debate about what this case

14   might be, I think we could limit this to documents -- FOIA

15   requests in response to state and federal relating to

16   AlliantGroup.     I mean, in to the extent AlliantGroup is

17   mentioned in the request.

18              THE COURT:    So what would be the objection to that

19   from Efficiency Energy's standpoint?

20              MR. MCCUE:    Well, Your Honor, we can certainly

21   provide UT and UH, that's manageable.        But with respect to

22   documents AlliantGroup is nationwide.        There could be

23   documents regarding AlliantGroup with respect to hundreds of

24   these Open Records Act requests.

25              I don't think Counsel for Alliant has demonstrated




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1    why any of this information -- unless it relates to UT or UH

2    is relevant.

3                THE COURT:   Response.

4                MS. KENEALLY:   Your Honor, Mr. Volker of

5    Efficiency Energy has been designated as an expert witness

6    in this case.    He is collecting information and we know that

7    he is.    He is collecting information about AlliantGroup

8    through FOIA requests and one of the things that he's an

9    expert on how AlliantGroup engages in its processes and what

10   it does in connection with Section 179D.

11               He's gathering this information.       He's designated

12   an expert witness.     And we know that he is at least

13   selectively providing this information to the Plaintiffs

14   because we've seen these documents in a deposition.

15               MR. MCCUE:   This is Mike McCue, Your Honor.        To

16   the extent any documents that's been used and I'm not sure

17   which documents.     Counsel mentioned two documents when we

18   had out meet and confer last week.

19               But those -- if I'm correct on the documents she's

20   talking about -- those were communications from AlliantGroup

21   or to AlliantGroup.      So they've got all those documents

22   anyway.

23               The other problem is a lot of these FOIA requests

24   are used as part of -- as I mentioned the last time we were

25   there, Efficiency Energy's business is 100 percent 179D.




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1    And part of these documents that we're talking about are

2    going to be buildings around the country where there's been

3    a 179D allocation or where there haven't been a 179D

4    allocation.   And that's Efficiency Energy's work product

5    and --

6               THE COURT:    No, I got you.     What I'm trying to

7    figure out is, is it really the case that there's this huge

8    a volume of documents received from governmental agencies

9    pertaining to AlliantGroup?

10              MR. MCCUE:    I don't know, and I don't know if -- I

11   don't think there's any way Efficiency Energy would know

12   unless they go through gigabytes of documents.         As

13   Mr. Volker stated in affidavit, he estimates that he's -- in

14   the last decade has submitted 200 of these things.

15              THE COURT:    But so couldn't he look through those

16   200 and see how many of them were directed to obtaining

17   documents pertaining to AlliantGroup?        That doesn't seem --

18   that doesn't seem to be burdensome at all.         That seems like

19   something that could take about an hour.

20              MR. MCCUE:    You know, I didn't ask him

21   specifically about that.     I'm certain that a lot of

22   documents that are obtained.      Since AlliantGroup is the

23   biggest 179D certifier in the country, a lot of documents

24   that he obtained involved AlliantGroup.

25              THE COURT:    And when you say -- okay, so imagine




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1    this.   Imagine that you find out that, you know, 20 of those

2    200 requests were directed to government agencies requesting

3    documents pertaining to AlliantGroup, why not make those

4    responses available to AlliantGroup?        I mean, they're not

5    privileged.

6               MR. MCCUE:    No, they're not privileged, Your

7    Honor, but their also not relevant.       If they regard

8    AlliantGroup, again AlliantGroup's got copies of them if

9    they involve AlliantGroup.

10              THE COURT:    No, but I think it's sort of a little

11   bit of a rule of optional completeness issue.          If you're

12   obtaining, you know, a set of documents and then using a

13   subset of them in a deposition saying that well, you

14   probably already have this document.        That's different than

15   AlliantGroup being able to say yeah, but wait a minute.

16   There's these other documents that were in the same subset

17   or the same set that you're not using and they should be

18   able to make use of those, don't you think?

19              MR. MCCUE:    Well, if they have documents in mind

20   that they contend that we used, it seems to me the relevant

21   production would be the documents we got from the one or two

22   entities that were involved in those documents.

23              THE COURT:    So here's the thing.      Now we're having

24   this hearing and I guess I asked a question a minute ago and

25   now it's occurring to me that this is real problematic that




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1    we don't have the answer.

2                You don't know then how many document requests --

3    how many FOIA-type requests relate to AlliantGroup?

4                MR. MCCUE:   No.

5                THE COURT:   Then how can you be saying it's

6    burdensome?     Because I think that what you need to do is

7    produce the documents that were produced to Efficiency

8    Energy Group in response to FOIA or other governmental

9    disclosure requests -- whatever the state version is --

10   where the request was for AlliantGroup-related documents.

11               I'm sorry, that was a very long run on sentence

12   and I can repeat it and I apologize.        But as to the requests

13   where Efficiency Energy was seeking AlliantGroup-related

14   documents, those should be produced.        They're not

15   privileged.     They're in the hands of a governmental entity.

16   There's, you know, I presume they're already in electronic

17   form and they can just be put onto a disk or a drive

18   en mass.    Right?

19               MS. KENEALLY:      That's acceptable to AlliantGroup.

20               THE COURT:   Well I guess, I mean, I'm not trying

21   to negotiate.     I'm just trying -- sir, Mr. McCue, how am I

22   wrong?     I mean, I don't want to do something that is not

23   informed, but that's where I'm at, unless you can persuade

24   me.

25               MR. MCCUE:   And I guess it's my responsibility for




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1    not knowing the answer to the Court's question, but I still

2    have a concern about what the volume could be and how that's

3    relevant.

4                I don't think it's relevant to show biased or that

5    Alliant or Efficient Energy has an incentive for

6    governmental entities to be able to share in the -- to share

7    in the deduction.    He testified in his deposition to that.

8                THE COURT:   Well, I disagree.     I mean, I think --

9    I think that -- and again, you're going to have a trial

10   where the very specific documents that are offered as

11   exhibits will either be admitted or not admitted.         And

12   various theories of each side's case will be permitted or

13   not permitted to be gotten into.

14               But we're at the discovery phase and I think that

15   what AlliantGroup is saying is that Mr. Volker, through

16   Efficiency Energy, is a, an expert and b, is -- and I know

17   that this isn't directly a topic that we're talking about

18   but it's part of the papers that I've been privy to -- is

19   that he's sort of trying to move an agenda with respect to

20   the 179D deduction, you know, and we're going to get into

21   talking to reporters in a minute.

22               He's trying to get the law to be crafted in a

23   direction that helps him.     And part of what he's doing is

24   obtaining documents from governmental agencies and then

25   those documents are being used in depositions.




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1                 And so I think that their relevance is not an

2    issue to me.     And so I think the only way that I can come

3    down on this -- because you know, I don't know what the date

4    was of that hearing that we had.

5                 Does somebody remember that?

6                 MR. MCCUE:   It was about a month ago, Your Honor.

7                 THE COURT:   Easily a month ago.     And so, you know,

8    we set this status conference for this very day and time at

9    that time.     Nothing's changed and we knew what the issues.

10   We knew the rulings that I made the last time, which were:

11   Let's get the documents produced that are relevant to this

12   case, relevant to AlliantGroup, relevant to the claims and

13   defenses.

14                And I'm doing exactly consistent thing right now

15   which is this.     Here's how the docket entry is going to

16   read, the Minute Entry Order:

17      "Efficiency Energy is ordered to review it's FOIA

18      requests and as to those where the subject matter was

19      AlliantGroup, produce the documents produced by the

20      governmental entity."

21                So next is the communications with the press,

22   right?   Isn't that what 18 is?

23       "All documents of communications between or among you

24       and any media, news or blog company or agency or

25       employee owner affiliate thereof regarding




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1        Section 179D."

2              So here's my first question:        Is -- forget for a

3    second, you know, admissibility and this notion that well,

4    newspaper articles aren't admissible; therefore, the

5    discussions with reporters and such can't be admissible

6    because that's just not true.

7              A statement by a party can come in if -- I mean it

8    just can come in and the newspaper article doesn't have to

9    be admissible for the statement to a reporter to come in if

10   there's an email from Mr. Volker to The New York Times that

11   says I'm trying to -- and I'm being kind of factious here,

12   but I'm trying to push an agenda and I'd really like your

13   article to come out in a way that's favorable to me.

14             I mean that could be something that would be

15   highly relevant at a trial.      And to at least discoverable at

16   this stage, so.

17             Go ahead, sir.

18             MR. MCCUE:     This is Mike McCue, again, Your Honor.

19   We offered to produce any communications with media, blogs,

20   et cetera, having to do with UTUH or the litigation, which I

21   think was consistent with what the Court ordered at the last

22   hearing, but that was rejected.

23             THE COURT:     Well what's the problem with that?         I

24   think I can predict it, but what's the problem with that?

25             MS. KENEALLY:     Again, Your Honor, this is Kathy




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1    Keneally.   I think you can predict it with all respect and I

2    don't think we're talking about a lot of articles here.             I

3    think all the parties know what's been written on this.

4    It's not the hottest topic in the press.        But he said that

5    Mr. Volker is out there as an expert in this case

6    influencing what the thought process is on this issue

7    through his communications with media.

8                We want to see those documents regardless of

9    whether it specifically relates to this lawsuit or not.

10               THE COURT:   So Mr. McCue, what is the volume in

11   extent of documents that we're talking about?

12               MR. MCCUE:   He has communicated with -- excuse me,

13   Your Honor, I'm trying to find it.       I think roughly seven to

14   nine news organizations that he can recall communicating

15   with.

16               THE COURT:   And this is all by email?

17               MR. MCCUE:   I believe so, yes.

18               THE COURT:   So this is just sorting the in and out

19   box by name problem, right?     I mean this is not a burdensome

20   issue.   This is not an expense issue.      This is -- I mean if

21   I were to go through my -- I've had the same email for, you

22   know, 12 years or something and I can, you know, go ahead

23   and dig out all the communications that I had with my son's

24   high school teacher, you know, years ago just by searching

25   that name and sorting it and then I could just save those




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1    emails, right?

2              MR. MCCUE:    Yes, I assume that he can find those

3    emails, Your Honor.

4              THE COURT:    So your only objection is this

5    relevance objection?

6              MR. MCCUE:    Well, in -- yeah, and that is part of

7    the analysis under the proportionality test and Ms. Keneally

8    said it -- we want to see, you know, what -- how he's

9    shaping the views of the media.      I just don't see how that's

10   at all relevant to the allocations in this case.

11             You know, at some point, yeah, they would like

12   everything my client, I guess, has ever done.          But I don't

13   think that's appropriate.

14             THE COURT:    Well, you know that I -- I mean, we've

15   already just in this hearing and the last hearing -- just to

16   be clear -- have limited to a large extent the document --

17   the set of documents that I'm allowing them to get into.

18             I mean, I think you know that.        So, let's not go

19   to the place where it's, oh, well they're just getting

20   everything.   I mean, we're limiting these things to the

21   matters that are relevant in this case.

22             For example, in the FOIA request, you know, if you

23   did a FOIA request relating to some other company and some

24   other project and some other whatever that has nothing to do

25   with AlliantGroup, they're not getting it.        We've already




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1    covered that.

2               So, here we're talking about email strings with

3    seven to ten reporters in a case -- I mean, what are the --

4    and I really don't know -- how much money is this case

5    worth?   Does somebody have just a ballpark?        Like what kind

6    of demands are being made here?

7               MR. MCCUE:    $3 million, Your Honor.

8               THE COURT:    All right, so in a $3 million case, I

9    think doing a search for seven to ten email strings or maybe

10   there's many email strings but with seven to ten

11   recipients/senders, is not at all out of proportion to the

12   needs of this case.

13              And I find that they're relevant.        They're not

14   privileged.     If we're asking the reporter for these things,

15   that would be different, but we're not.         We're asking your

16   client who's a litigant -- well not a litigant, but an

17   expert for one of the litigants -- to produce documents that

18   may very well show bias.

19              They may very well not show bias.        They might be

20   great for you.     But we don't know that and that's part of

21   why we're doing discovery.

22              So I'm going to order that those be produced.

23   There's no other claim of privilege or confidentiality is

24   there that I'm missing?

25              MR. MCCUE:    No, Your Honor.




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1                 THE COURT:   Okay.   Well then that's what we'll

2    order and is there -- I think we started out with something

3    that says we're not happy with the resolution that you-all

4    reached on what is it on four and five?

5                 MS. KENEALLY:    No, no, no, Your Honor.    This is

6    Kathy Keneally for AlliantGroup.       My only comment with four

7    and five is that we came to an agreement but we haven't seen

8    the documents yet, so.       That's -- rather than find myself

9    coming back to the Court saying we ask them to do what they

10   said they would do, I thought I would just mention, hey,

11   we'd like to get the documents.

12                THE COURT:   All right, so Mr. McCue you know let's

13   do right now what you-all could just do on the phone.             When

14   do you expect that you should be able to turn over those

15   documents?

16                MR. MCCUE:   I talked with him last week, Your

17   Honor, and he had already begun to pull all of that

18   together.    We can certainly -- they've got his deposition on

19   Friday.     You know, I haven't talked to him this week, but I

20   would think we could certainly get them those documents

21   before Friday.

22                THE COURT:   So they'll need those documents to

23   prepare for the deposition, right?

24                MR. MCCUE:   Yes.

25                THE COURT:   And so today is Tuesday.      I mean,




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1    what's the volume of documents that we're talking -- and I

2    didn't study those, too, because everybody said that they

3    were taken care of.     So, what are -- these are materials

4    relating to an article published by the former professor.

5              MR. MCCUE:     Yeah, I don't think they're that

6    great, Your Honor.    It's emails -- some emails and

7    attachments.

8              THE COURT:     Oh, okay.

9              MR. MCCUE:     I will do my -- as soon as we hang up,

10   I'll call Mr. Volker.     But I'll represent that I'll do my

11   best to get it to them by tomorrow.

12             THE COURT:     Okay, by, you know, 5:00 o'clock

13   tomorrow, not midnight.     Give them at least a chance to

14   digest them on Thursday so -- you know, because the last

15   thing that anybody wants is to have to have some sort of

16   emergency motion to delay the deposition because we didn't

17   have a chance to review the documents and all that.

18             So is that -- I'm just going to put in the Order

19   that the documents responsive to Document Requests 4 and 5

20   will be produced by 5:00 o'clock and then whatever date

21   tomorrow is.   That way your client knows it's ordered and

22   it's the Judge being this way and not you.        Sometimes that

23   helps.

24             Were there any other matters that I can attend to?

25             MS. KENEALLY:     Your Honor, this is Kathy Keneally




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1    again.     On the -- on your Order concerning the request

2    regarding the FOIA and related similar government requests,

3    we're requesting the request as well as the responses.

4                 THE COURT:   And I'm granting -- right, yes.

5    Granted.

6                 MS. KENEALLY:   Right, I just wanted to make sure

7    your instruction was encompassing that.         I wasn't clear on

8    what I heard.

9                 THE COURT:   Right.   And so, yes, both of those are

10   granted in part and denied in part.        And I will do my best

11   to, you know, make it clear in the Minute Entry Order what

12   we're talking about.      But I think we all understand if

13   Efficiency Energy asked for something related to

14   AlliantGroup and they got it, they got a response, turn it

15   over.     And if the response was, no, we have no documents --

16   which in my FOIA experience is usually the response --

17   produce that.

18                Or if the response to the FOIA request was some

19   sort of, you know, governmental objection or we're not doing

20   it, produce that.    Just whatever the response was, fair

21   enough?

22                MR. MCCUE:   This is Mike McCue, Your Honor.      I

23   understand what the Court's ordering.

24                THE COURT:   All right, very well.     Okay if there's

25   nothing else, you-all are excused.        Thanks.




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1              MR. MCCUE:     Thank you, Judge.

2              MR. SCARDUZIO:      Thank you, Your Honor.

3              THE COURT:     All right.

4              COURT CLERK:     All rise.

5        (Proceeding adjourned at 2:30 p.m.)

6                                  * * * * *

7                  I certify that the foregoing is a correct

8    transcript to the best of my ability produced from the

9    electronic sound recording of the proceedings in the above-

10   entitled matter.

11   /S/ MARY D. HENRY
12   CERTIFIED BY THE AMERICAN ASSOCIATION OF

13   ELECTRONIC REPORTERS AND TRANSCRIBERS, CET**337

14   JUDICIAL TRANSCRIBERS OF TEXAS, LLC

15   JTT TRANSCRIPT #59354

16   DATE FILED:    OCTOBER 23, 2018

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